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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                   AT ASHLAND

CRIMINAL ACTION NO. 10-02-DLB-8

UNITED STATES OF AMERICA                                                        PLAINTIFF


vs.            ORDER ADOPTING REPORT AND RECOMMENDATION


CARRIE M. DYER                                                                DEFENDANT

                                     *** *** *** ***

       This matter is before the Court upon the March 13, 2012 Amended Report and

Recommendation (Amended R&R) of the United States Magistrate Judge wherein he

recommends that the Court revoke Defendant’s supervised release and impose a sentence

of four (4) months imprisonment. (Doc. # 274) Upon release from imprisonment, the

Magistrate Judge recommends that Defendant be transported by the United States Marshal

to an inpatient drug treatment facility designated by the United States Probation Office to

successfully complete long term drug treatment. (Id.). After completing drug treatment, the

Magistrate Judge further recommends that Defendant shall serve the remaining term of her

supervised release. (Id.).

       At the final revocation hearing held on February 24, 2012, Defendant stipulated to

the violations contained in the Supervised Release Violation Report of United States

Probation Officer Allison Biggs. (Doc. # 268). On February 29, 2012, the matter came

before the Magistrate Judge for final sentencing, at which time he made oral findings of fact

and conclusions of law, and offered an oral report and recommendation. (Doc. # 269).


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Defendant subsequently filed a Motion to Reopen the Final Hearing (Doc. # 270) to offer

additional arguments relevant to her recommended sentence, which was granted. (Doc.

# 271). After conducting the additional hearing on March 12, 2012 (Doc. # 273), the

Magistrate Judge submitted an Amended Report and Recommendation which is presently

before the Court. (Doc. # 274).

       Defendant having executed a waiver of her right to allocution (Doc. # 267), there

being no objections filed to the Magistrate Judge’s Amended R&R, and the time to do so

having now expired, the Amended R&R is ripe for the Court’s consideration. Having

reviewed the Amended R&R, and the Court concluding that it is sound in all respects,

including the recommended sentence and the basis for said sentence, and the Court being

otherwise sufficiently advised,

       IT IS ORDERED as follows:

       (1) The Magistrate Judge’s Amended Report and Recommendation (Doc. # 274)

is hereby ADOPTED as the findings of fact and conclusions of law of the Court;

       (2) Defendant is found to have VIOLATED the terms of her supervised release;

       (3) Defendant’s supervised release is hereby REVOKED;

       (4) Defendant is sentenced to the CUSTODY of the Attorney General for a period

four (4) months. Upon release from incarceration, Defendant shall be transported by the

United States Marshal to an appropriate inpatient drug treatment facility to be designated

by the United States Probation Office where she shall successfully complete long term drug

treatment. Upon conclusion of treatment, she shall be released to serve the remaining

term of her supervised release; and



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       (5) A judgment shall be entered contemporaneously herewith.

       This 13th day of April, 2012.




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